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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )
                                                 )
RICHARD W. GATES III,                            )            Crim. No. 17-201-2 (ABJ)
                                                 )
               Defendant.                        )


          MOTION FOR LEAVE TO WITHDRAW AS COUNSEL OF RECORD

       Pursuant to Local Rule 44.5(d), undersigned counsel hereby move to withdraw as counsel

of record in this case effective immediately for the reasons set forth in Exhibit 1 which is the

subject of a motion to be filed under seal.


                                              Respectfully submitted,


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